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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


 QUENTIN MCCLELLAN,

                       Plaintiff,           CIVIL ACTION NO. 3:18-cv-02162-ARC

              v.

 REDNER’S MARKETS, INC., JIM POLCHIN,
 BOB MCDONOUGH, AND RICK MERKEL

                       Defendants.



  EXHIBITS TO REDNER’S MARKETS, INC., JIM POLCHIN, BOB MCDONOUGH,
  AND RICK MERKEL MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
                        SUMMARY JUDGMENT




 Date: April 3, 2020                         Respectfully Submitted,

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